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IN THE UNITED sTATEs DIsTRICT coURT - "~" °'c-
FoR THE WESTERN DISTRICT oF TENNESSEE 05 AUG 30 PH 1.- l y

 

 

WESTERN DIVISION

BRIGITTE FLACK )
)
Plaintiff, )
)

v_ ) Civil No. 04-2455
)
JO ANNE B. BARNHART, )
Commissioner of Social Security, )
)
Defendant. )

 

ORDER GRANTING AWARD OF ATTORNEY FEES AND EXPENSES

 

The Plaintiff, Brigitte Flack, has moved for an award of attorney fees as a prevailing party
under the Equal Access to Justice Act (EAJA), 28 U.S.C.§ 2412, to cover the cost of pursuing
judicial review of a decision by the Commissioner of the Social Security Administration denying her
claim for Social Security disability benefits The Plaintiff and Defendant have agreed that $3,241.40
is a reasonable fee in this case.

WHEREFORE, by consent the parties request the Court enter its Order awarding EAJA fees

to Plaintiff in the total amount of $3,241.40.

IT rs so 0RDERED this the _?Q ""‘ day of (§`Ej,h,,_~ ,2005.

 

United States District Judge

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CONSENTED TO AND APPROVED

 

 

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Wener & Associates, P.C.
Attorney For Plaintiff
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This notice confirms a copy of the document docketed as number 20 in
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Honorable Bernice Donald
US DISTRICT COURT

